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                         IN THE UNITED STATE DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 AMELIA RIOS, ROBERT GREEN, and                  §
 SAYRA GREEN,                                    §
                                                 §
 Plaintiffs,                                     §
                                                 §
 V.                                              §          CASE NO. 5:18-CV-00538-ESC
                                                 §
 CIOX HEALTH, LLC, HEALTHPORT                    §                Jury Trial Demanded
 TECHNOLOGIES, LLC, SCANSTAT,                    §
 L.P., NORTH SHORE AGENCY, INC.,                 §
 NIX HOSTPITALS SYSTEM, LLC, and                 §
 PARTNERS IN PRIMARY CARE, P.A.,                 §
                                                 §
 Defendants.                                     §

                       PLAINTIFFS’ FIFTH AMENDED COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Come now, Amelia Rios, Robert Green and Sayra Green, Plaintiffs herein, by and through

their attorneys, who pursuant to Rule 15(a)(1)(A) of the Federal Rules of Civil Procedure timely

file this their Fifth Amended Complaint as a matter of course, and would respectfully show the

Court the following:

                                         JURISDICTION

        1.     This Court has jurisdiction to hear this matter pursuant to 28 U.S.C. § 1332(d),

which confers jurisdiction over class action lawsuits in which the matter in controversy exceeds

the sum or value of $5,000,000, exclusive of interest and costs, and is a class action in which any

member of a class of plaintiffs is a citizen of a State different from any defendant.




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                                             VENUE

        2.      Venue is proper in the Western District of Texas, pursuant to 28 U.S.C. §1337,

based upon the fact that Plaintiffs are citizens of the State of Texas and reside in Bexar County

which is located in the Western District of Texas. The transactions and occurrences which give

rise to this action occurred in Bexar County, Texas.

                                            PARTIES

        3.      Plaintiff Amelia Rios (hereinafter referred to as “Ms. Rios”) is an individual

residing within the Western District of Texas. Plaintiff is a consumer as that term is defined by

the Texas Debt Collection Practices Act, Tex. Fin. Code Ann. § 392.001 et seq.

        4.      Plaintiff Sayra Green (hereinafter referred to as “Mrs. Green”) is an individual

residing within the Western District of Texas. Plaintiff is a consumer as that term is defined by

the Texas Debt Collection Practices Act, Tex. Fin. Code Ann. § 392.001 et seq.

        5.      Plaintiff Robert Green (hereinafter referred to as “Mr. Green”) is an individual

residing within the Western District of Texas. Plaintiff is a consumer as that term is defined by

the Texas Debt Collection Practices Act, Tex. Fin. Code Ann. § 392.001 et seq.

        6.      Defendant, Ciox Health, LLC d/b/a Healthport and also d/b/a Ciox Health

(hereinafter referred to as “Ciox”) is a limited liability company organized pursuant to the laws of

Georgia with its principal place of business in Georgia.

        7.      Defendant, Healthport Technologies, LLC d/b/a Healthport (hereinafter referred to

as “Healthport”) is a limited liability company organized pursuant to the laws of Georgia with its

principal place of business in Georgia.

        8.      Defendant, ScanStat, L.P. /b/a ScanSTAT Technologies (hereinafter referred to as

“ScanSTAT”) is a limited partnership organized pursuant to the laws of Georgia with its principal



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place of business in Georgia.

       9.      Defendant North Shore Agency, Inc. d/b/a North Shore Agency, A National

Collection Agency (hereinafter referred to as “North Shore”) is a corporation organized pursuant

to the laws of New York with its principal place of business in New York.

       10.     Defendant, Nix Hospitals System, LLC d/b/a Nix Medical Center and also d/b/a

Nix Healthcare System and also d/b/a Nix Physician Care Centers - TX (hereinafter referred to as

“the Nix”) is a limited liability company organized pursuant to the laws of Texas with its principal

place of business in Texas.

       11.     Defendant, Partners in Primary Care, P.A., (hereinafter referred to as “Partners in

Primary Care”) is a professional association organized pursuant to the laws of Texas with its

principal place of business in Texas.

       12.     Defendant, Methodist Healthcare System of San Antonio, Ltd., L.L.P. d/b/a

Methodist Ambulatory Surgery Center, (hereinafter, referred to as “Methodist”) is a limited

partnership organized pursuant to the laws of Texas with its principal place of business in Texas.

       13.     Defendant, Chase Receivables, Inc. (“hereinafter, referred to as “Chase

Receivables”) is a corporation organized pursuant to the laws of California with its principal place

of business in New Jersey.

                                             FACTS

       14.     The HITECH Act, 42 U.S.C. §17935(e), limits the amounts that can be charged by

a medical provider for copies of medical records that are requested by a patient. Pursuant to the

HITECH Act and its implementing regulations, healthcare providers may only charge a reasonable

fee for these records that only includes their actual cost of: (1) labor for providing the requested

records in electronic form; (2) supplies for creating the electronic media (e.g., CD or USB drive)



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if the patient requests that the electronic copy be provided on portable media; (3) postage, when

the patient requests that the copy, or the summary or explanation, be mailed; and (4) preparation

of an explanation or summary of the records, if agreed to by the patient. See 45 CFR 164.524(c)(4).

These limitations apply when the patient requests that electronic copies of medical records be sent

to a designated third party. See 45 CFR 164.524(c)(3)(ii).

   A. Ms. Rios’ Request for Electronic Medical Records from the Nix

       15.     On or about May 26, 2016, Plaintiff Amelia Rios requested that the Nix provide

her with a copy of her medical records in electronic format. Ms. Rios requested that the Nix send

these medical records to her attorney, in connection with Ms. Rios’ claim arising out of personal

injuries sustained in a car wreck that occurred on October 23, 2015.

       16.     On or about May 31, 2016, Defendant ScanSTAT responded to Ms. Rios’ request

for electronic medical records on behalf of the Nix. In connection with such response, ScanSTAT

indicated that Ms. Rios would be required to pay $47.04 for the requested medical records. Ms.

Rios disputed the amount sought to be charged for such electronic medical records, because it

exceeded the charges allowed under the HITECH Act.

       17.     On or about June 1, 2016, ScanSTAT sent Ms. Rios the requested medical records

in electronic format as requested but increased its demand for payment to $84.17. Ms. Rios again

disputed the amount sought to be charged for such electronic medical records, because it exceeded

the charges allowed under the HITECH Act.

       18.     On or about June 8, 2016 and again on or about June 13, 2016, the Nix sent Ms.

Rios a bill seeking to charge $30 for two pages of billing records responsive to her May 26, 2016

request for electronic medical records. Ms. Rios disputed the amount sought to be charged for

such electronic medical records, because it exceeded the charges allowed under the HITECH Act.



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The Nix never responded to this dispute, and never provided the requested billing records to Ms.

Rios.



   B. Ms. Rios’ Request for Electronic Medical Records from Partners in Primary Care

        19.    On or about May 27, 2016, Plaintiff Amelia Rios requested that Partners in Primary

Care provide her with a copy of her medical records in electronic format. Ms. Rios requested that

Partners in Primary Care send these medical records to her attorney, in connection with Ms. Rios’

claim arising out of personal injuries sustained in a car wreck that occurred on October 23, 2015.

Ms. Rios followed up on this initial request on June 23, 2016, pointing out that she had not received

records relating to one of her visits to Partners in Primary Care.

        20.    On or about June 15, 2016 and June 17, 2016, and July 9, 2016, Defendant

Healthport, acting for and as an agent on behalf of Partners in Primary Care, sent Ms. Rios three

separate invoices, one for $26.57, one for $25.68, and one for $40.68, all of which corresponded

to Ms. Rios’ request for electronic medical records directed to Partners in Primary Care. All of

these invoices referenced a Customer # 1534849. Included in the charges in the invoices were

charges of $15.00 for a “certification fee,” for a certification of Ms. Rios’ medical records that she

neither requested nor received. Defendant Healthport sent those invoices to Ms. Rios in response

to her request to Partners in Primary Care for electronic medical records, obviously acting as an

agent for Partners in Primary Care.

        21.    Partners in Primary Care engaged in debt collection for the purposes of

§ 392.001(6) of the Texas Finance Code because, either directly or indirectly, Partners in Primary

Care engaged in collection of a debt from Ms. Rios. If Partners in Primary Care had responded to

Ms. Rios’ May 27, 2016, request for her medical records itself with the three invoices as Healthport



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did acting on behalf of Partners in Primary Care, then Partners in Primary Care would have been

an original creditor acting impermissibly in collecting a debt unlawfully under the Texas Finance

Code. In addition, and/or alternatively, Partners in Primary Care either directly or indirectly

solicited Healthport to collect the claimed debts for Partners in Primary Care by sending the

invoices in violation of Section 392.001(5) of the Texas Finance Code in receipt to Ms. Rios’

request for electronic medical records. In addition, and/or alternatively, Partners in Primary Care

is vicariously liable for the conduct of Healthport in attempting to collect the charges for the

records Ms. Rios requested. With Healthport acting as its agent, Partners in Primary Care is

vicariously liable for the conduct of Healthport.

       22.     Ms. Rios disputed the amounts claimed, because they exceeded the charges allowed

under the HITECH Act. Neither Healthport nor Partners in Primary Care ever responded to this

dispute, and instead sent the invoices to Defendant North Shore for collection.

       23.     Furthermore, Healthport, acting for and as an agent on behalf of Partners in Primary

Care, wrongfully billed Ms. Rios three times for the same requested medical records, thereby

further inflating the charges for such records far beyond those permitted by the HITECH Act.

Alternatively, although state laws and regulations pertaining to medical record requests are

preempted by the HITECH Act, Healthport, acting for and as an agent on behalf of Partners in

Primary Care, in billing Ms. Rios three times for the same requested medical records caused Ms.

Rios to be billed amounts for those records that exceeded even the limits on medical record charges

imposed by state laws and regulations. The conduct of Partners in Primary Care and/or Healthport

in billing Ms. Rios three times for the same requested medical records caused confusion as to the

amount claimed to be owed for such records.




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       24.      Beginning on or about November 19, 2016, on information and belief, Healthport

changed its name to Ciox Health as part of a prior merger of Healthport, IOD Inc., Care

Communications Inc. and ECS. Thereafter, Ms. Rios continued to receive invoices from Ciox by

which it sought to charge a total of $92.93 for the electronic medical records that she had requested

from Partners in Primary Care.

       25.      On or about August 8, 2017, Defendant North Shore sent Ms. Rios copies of two

Healthport invoices by which it sought to charge Ms. Rios $26.57 and $25.68 for the electronic

medical records she had requested from Partners in Primary Care. North Shore directed Ms. Rios

to pay these charges directly to North Shore and indicated that this alleged debt was past due, thus

making North Shore a third-party debt collector pursuant to the Texas Finance Code.

       26.      Ms. Rios immediately disputed the amounts claimed, because they exceeded the

charges allowed under the HITECH Act. In her dispute, Ms. Rios did not reference any invoice

numbers but rather referenced the Customer # 1534849 that had been assigned to all of the

Healthport invoices she received relating to her request for medical records from Partners in

Primary Care.

       27.      In her dispute, Ms. Rios made clear that she had requested her medical records from

Partners in Primary Care pursuant to the HITECH Act, and informed North Shore that she disputed

any attempt to charge per page rates for such medical records rather than the actual costs of

producing such medical records in electronic form as allowed by the HITECH Act.

       28.      North Shore never responded to this dispute, and instead sent Ms. Rios a “Medical

Records Collection Alert” by which it continued to attempt to charge Ms. Rios $40.68 for the

electronic medical records that she had requested from Partners in Primary Care.




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   C. Mrs. Green’s Request for Electronic Medical Records from the Nix

       29.     On or about November 18, 2016, Plaintiff Sayra Green requested that the Nix

provide her with a copy of her medical records in electronic format. Mrs. Green requested that the

Nix send these medical records to her attorney, in connection with Mrs. Green’s claim arising out

of personal injuries sustained in a car wreck that occurred on April 11, 2014.

       30.     On or about November 21, 2016, Defendant ScanSTAT responded to Mrs. Green’s

request for electronic medical records on behalf of the Nix. In connection with such response,

ScanSTAT indicated that Mrs. Green would be required to pay $91.28 for the requested electronic

medical records. Included in the charge of $91.28 was $6.00 for a notary fee or charge.

       31.     Mrs. Green disputed the amount claimed, because it exceeded the charges allowed

under the HITECH Act. ScanSTAT never responded to this dispute, and instead it continued to

send Mrs. Green invoices by which it sought to charge a $91.28 for the electronic medical records

that she had requested from the Nix.

       32.     On or about January 6, 2017, ScanSTAT sent Mrs. Green an invoice for $47.50

along with Mrs. Green’s initial request for electronic medical records from the Nix. Included in

the charge of $47.50 was $15.00 for a certification fee and $6.00 for a notary fee or charge. This

invoice for $47.50 purported to relate to medical records from the Nix d/b/a Nix Physician Care

Centers – TX. Thereafter, ScanSTAT sent Mrs. Green invoices for both the initial $91.28 charge

for Mrs. Green’s medical records from the Nix and the subsequent $47.50 charge for Mrs. Green’s

medical records from the Nix, bringing the total amount charged by ScanSTAT for Mrs. Green’s

medical records from the Nix to $138.78.

       33.     On or about November 23, 2016, the Nix sent Mrs. Green an invoice seeking to

charge her $36.00 for two pages of billing records responsive to her November 18, 2016 request



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for electronic medical records from the Nix. Included in the charge of $36.00 was $6.00 for a

notary fee or charge.   Mrs. Green paid this amount to the Nix so as to obtain the billing records

she needed in order to pursue her pending claim arising out of a car wreck.

   D. Mr. Green’s Request for Electronic Medical Records from the Nix

       34.     On or about September 1, 2017, Plaintiff Robert Green requested that the Nix

provide him with a copy of his medical records in electronic format. Mr. Green requested that the

Nix send these medical records to his attorney, in connection with Mr. Green’s claim arising out

of personal injuries sustained in a slip and fall incident that occurred on January 2, 2016.

       35.     On or about October 3, 2017, Defendant ScanSTAT responded to Mr. Green’s

request for electronic medical records on behalf of the Nix. In connection with such response,

ScanSTAT provided an invoice stating that Mr. Green would be required to pay $92.30 for the

requested medical records. Included in the charge of $92.30 were charges for $15.00 for a

“certification fee” and $6.00 for a notary fee or charge.

       36.     Mr. Green disputed the amount claimed, because it exceeded the charges allowed

under the HITECH Act. ScanSTAT never responded to this dispute, and instead ScanSTAT

continued to send Mr. Green invoices by which it sought to charge him $92.30 for the electronic

medical records that he had requested from the Nix.

       37.     On or about September 1, 2017, the Nix sent Mr. Green an invoice seeking to charge

him $38 for fourteen pages of billing records responsive to his September 1, 2017 request for

electronic medical records from the Nix. Included in the charge of $38.00 was $6.00 for a notary

fee or charge. Mr. Green paid this amount to the Nix so as to obtain the billing records he needed

in order to pursue his pending claim arising out of a slip and fall incident.




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   E. Mr. Green’s Request for Electronic Medical Records from Methodist

       38.     On or about October 4, 2017, Plaintiff Robert Green requested that Methodist

provide him with a copy of his medical records in electronic format. This request was ignored, so

on or about January 10, 2018, Mr. Green again requested that Methodist provide him with a copy

of his medical records in electronic format. Mr. Green requested that Methodist send these medical

records to his attorney, in connection with Mr. Green’s claim arising out of personal injuries

sustained in a slip and fall incident that occurred on January 2, 2016.

       39.     On or about January 29, 2018, Defendant Healthport, acting for and as an agent on

behalf of Methodist, responded to Mr. Green’s request for electronic medical records and provided

95 pages of medical records to Mr. Green via U.S. Mail. Thereafter, Healthport (now operating

under the name Ciox), acting for and as an agent on behalf of Methodist, sent an invoice stating

that Mr. Green would be required to pay $160.14 for the requested medical records. This $160.14

invoice included a $1 charge for the certification of these records as allowed by Texas law.

       40.     Mr. Green disputed the amount claimed and refused to pay the amount claimed,

because it exceeded the charges allowed under the HITECH Act.

       41.     Ciox, acting for and as an agent on behalf of Methodist, then referred the inflated

debt associated with Mr. Green’s request for his Methodist medical records to Chase Receivables

for collection. Beginning in February 2019, Chase Receivables, acting for and as an agent on

behalf of Ciox and/or Methodist, began sending collection letters to Mr. Green by which it sought

to collect $160.14 for his Methodist medical records.

       42.     Methodist engaged in debt collection for the purposes of § 392.001(6) of the Texas

Finance Code because, either directly or indirectly, Methodist engaged in collection of a debt from

Mr. Green. If Methodist had responded to Mr. Green’s October 4, 2017 and January 10, 2018,



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requests for his medical records itself with an invoice stating that Mr. Green would be required to

pay $160.14 for the requested medical records as Healthport and/or Chase Receivables did acting

on behalf of Methodist, then Methodist would have been an original creditor acting impermissibly

in collecting a debt unlawfully under the Texas Finance Code. In addition, and/or alternatively,

Methodist either directly or indirectly solicited Healthport and/or Chase Receivables to collect the

claimed debts for Methodist by sending the inflated $160.14 invoice in violation of Section

392.001(5) of the Texas Finance Code in response to Mr. Green’s request for electronic medical

records. In addition, and/or alternatively, Methodist is vicariously liable for the conduct of

Healthport and/or Chase Receivables in attempting to collect the inflated charges for the records

Mr. Green requested. With Healthport and/or Chase Receivables acting as its agent, Methodist is

vicariously liable for the conduct of Healthport and/or Chase Receivables.

                                      CAUSES OF ACTION

       43.     Plaintiffs are consumers under the Texas Debt Collection Practices Act, as their

claims arise out of Defendants actions and misrepresentations regarding consumer debts.

       44.     Defendants are debt collectors under the Texas Debt Collection Practices Act, as

they directly or indirectly engage in the action, conduct, or practice of collecting, or of soliciting

for collection, consumer debts that are alleged to be due from Plaintiffs.

       45.     The above-described acts of Defendants constitute violations of Texas Finance

Code § 392.303(a)(2), as Defendants have collected or attempted to collect a charge, fee, or

expense that is not legally chargeable to Plaintiffs by charging Plaintiffs more for their medical

records than is allowed by the HITECH Act and its implementing regulations and/or alternatively

than is allowed by other potentially applicable Texas law including without limitation Texas Civil

Practice and Remedies Code § 22.004 and/or Texas Administrative Code, Title 22, Part 9, Chapter



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165 and/or Texas Health and Safety Code § 241.154 (hereinafter, “applicable Texas law”) and/or

for charging Plaintiffs more for notarization or an affidavit to certify medical records than is

permitted by applicable Texas law and/or for charging more than once for a single set of records

requested by a Plaintiff in violation of the HITECH Act and applicable Texas law and/or for

charging for notarization or an affidavit to certify medical records when such certification has not

been requested or received by a Plaintiff and by repeatedly sending invoices for such inflated

charges to Plaintiffs..

        46.     The above-described acts of Defendants constitute violations of Texas Finance

Code § 392.304(a)(8), as Defendants have misrepresented the character, extent, or amount of a

consumer debt by representing that they may charge Plaintiffs more for their medical records than

is allowed by the HITECH Act and its implementing regulations and/or applicable Texas law

and/or for charging Plaintiffs more for notarization or an affidavit to certify medical records than

is permitted by applicable Texas law and/or for charging more than once for a single set of records

requested by a Plaintiff in violation of the HITECH Act and applicable Texas law and/or for

charging for notarization or an affidavit to certify medical records when such certification has not

been requested or received by a Plaintiff and by repeatedly sending invoices for such inflated

charges to Plaintiffs.

        47.     The above-described acts of Defendants constitute violations of Texas Finance

Code § 392.304(a)(12), as Defendants have represented that a consumer debt may be increased by

the addition of service fees or other charges when a statute does not authorize the additional fees

or charges by representing that they may charge Plaintiffs more for their medical records than is

allowed by the HITECH Act and its implementing regulations and/or applicable Texas law and/or

for charging Plaintiffs more for notarization or an affidavit to certify medical records than is



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permitted by applicable Texas law and/or for charging more than once for a single set of records

requested by a Plaintiff in violation of the HITECH Act and applicable Texas law and/or for

charging for notarization or an affidavit to certify medical records when such certification has not

been requested or received by a Plaintiff and by repeatedly sending invoices for such inflated

charges to Plaintiffs.

        48.     The above-described acts of Defendants constitute violations of Texas Finance

Code § 392.304(a)(14), as Defendants have represented falsely the status or nature of the services

rendered by them by charging for notarization or an affidavit to certify medical records when such

certification has not been requested or received by a Plaintiff.

        49.     The above-described acts of Defendants constitute violations of Texas Finance

Code § 392.304(a)(19), as Defendants have used false representations and deceptive means to

collect a debt by representing that they may charge Plaintiffs more for their medical records than

is allowed by the HITECH Act and its implementing regulations and/or applicable Texas law

and/or for charging Plaintiffs more for notarization or an affidavit to certify medical records than

is permitted by applicable Texas law and/or for charging more than once for a single set of records

requested by a Plaintiff in violation of the HITECH Act and applicable Texas law and/or for

charging for notarization or an affidavit to certify medical records when such certification has not

been requested or received by a Plaintiff and by repeatedly sending invoices for such inflated

charges to Plaintiffs.

        50.     The above-described acts of Defendants also violate the Texas Deceptive Trade

Practices-Consumer Protection Act pursuant to Texas Finance Code § 392.404.

        51.     The above-described acts of Defendants were the producing cause of and resulted

in actual damages to Plaintiffs, calculated as the difference between the reasonable cost to provide



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electronic copies of medical records in accordance with the HITECH Act and its implementing

regulations and/or applicable Texas law and the inflated amounts charged by Defendants as set

forth above, for which damages Plaintiffs sue pursuant to Texas Finance Code § 392.403(a)(1).

For the charges for certification of records that exceed the maximum permitted by applicable Texas

law and/or for the multiple charges for a single set of records requested, actual damages are

calculated as the difference between the amount actually charged and the maximum amount

permitted under the HITECH Act and its implementing regulations and/or applicable Texas law.

       52.     As to Defendant North Shore, Plaintiff Amelia Rios further seeks statutory damages

in the amount of $100 for each violation of Texas Finance Code § 392.202 that was committed by

said Defendant due to its failure to acknowledge or act on Ms. Rios’ written disputes of the alleged

debts in question, pursuant to Texas Finance Code § 392.403(e).

       53.     Plaintiffs seek injunctive relief to prevent or restrain the above-referenced

violations of the Texas Finance Code, pursuant to Texas Finance Code § 392.403(a)(1).

       54.     Plaintiffs seek reasonable and necessary attorney fees and costs for trial and appeal

of this cause as provided by Texas Finance Code § 392.403(b).

       55.     Defendants’ actions were committed intentionally and knowingly, thereby making

Defendants liable to Plaintiffs for additional damages pursuant to the Texas Deceptive Trade

Practices-Consumer Protection Act.

       56.     Alternatively, Defendants would be unjustly enriched if they were entitled to obtain

a benefit from Plaintiffs via their actions in overcharging Plaintiffs for medical records and the

certification thereof as described above. Plaintiffs seek an order of the Court cancelling any

portion of the alleged debts at issue that exceed the reasonable cost for Defendants to provide

electronic copies of medical records in accordance with the HITECH Act and its implementing



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regulations and/or applicable Texas law and restitution of the difference between such allowable

charges and the inflated amounts charged by Defendants and paid as set forth above.

       57.     Defendants are responsible for the above-described acts and misrepresentations of

their agents and employees pursuant to the doctrines of respondent superior and agency.

                               CLASS ACTION ALLEGATIONS

       58.     This action is brought by Plaintiffs on behalf of a class consisting of (i) all persons

in Texas (ii) who requested medical records from any Defendant and/or had their request for

medical records acted on by any Defendant (iii) and were charged or attempted to be charged a fee

for such medical records that exceeds the costs allowed to be charged pursuant to 45 CFR

164.524(c)(4) and/or applicable Texas law. In addition or alternatively, this action is brought on

behalf of a class consisting of all persons in Texas who requested certified medical records from

any Defendant and who were charged a fee for the certification that exceeds the amount permitted

under applicable Texas law. In addition or alternatively, this action is brought on behalf of a class

consisting of all persons in Texas who were charged more than once for a single set of records

requested and/or were charged for notarization or an affidavit to certify medical records when such

certification has not been requested or received.

       59.     Additionally, this action is brought by Plaintiff Amelia Rios on behalf of a class

consisting of (i) all persons (ii) who disputed the amounts sought to be charged by Defendant North

Shore (iv) whose complaint was not acknowledged by such Defendant as required by Texas

Finance Code § 392.202.

       60.     The class is so numerous that joinder of all members is impractical.             Upon

information and belief, and based on reported cases, Plaintiffs allege Defendants have unlawfully

charged or attempted to charge thousands of persons a fee for medical records that exceeds the



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costs allowed to be charged pursuant to CFR 164.524(c)(4). Furthermore, upon information and

belief, Plaintiff Amelia Rios alleges that Defendant North Shore Agency has failed to acknowledge

written disputes concerning charges for medical records lodged by hundreds if not thousands of

persons.

       61.     There are questions of law and fact, common to the class, which predominate over

any questions affecting only individual class members.          The principle question is whether

Defendants’ charges for medical records exceed the reasonable costs allowed to be charged

pursuant to 45 CFR 164.524(c)(4) and/or other applicable law.

       62.     A secondary common question is whether Defendant North Shore Agency violated

Texas Finance Code § 392.202 by failing to acknowledge written disputes concerning their charges

for medical records as required by Texas Finance Code § 392.202.

       63.     A third common question is whether Defendant Healthport has impermissibly

charged or attempted to charge inflated amounts for medical records by billing consumers multiple

times for the same medical records as it did with respect to the records that Ms. Rios sought from

Partners in Primary Care.

       64.     Individual questions as to damages and the identity of class members can be

determined by ministerial inspection of Defendants’ records.

       65.     The Plaintiffs will fairly and adequately protect the interest of the class and are

committed to vigorously litigating this matter. Plaintiffs have retained counsel experienced in

handling class actions and consumer claims. Neither the Plaintiffs nor their counsel have any

interests which might cause them not to vigorously pursue this claim.

       66.     Plaintiff’s claims are typical of the claims of the class, which all arise from the same

operative facts and are based on the same legal theories.



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       67.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure.

At least one class has been previously certified in a similar case. See, e.g. Ruzhinskaya v.

Healthport Technologies, LLC, No. 14 Civ. 2921 (PAE) (S.D. N.Y. 2015).

                                   GROUNDS FOR RELIEF

       68.     Plaintiffs hereby re-allege and incorporate herein by this reference the allegations

set forth in ¶ No. 1 through 66 of this Complaint.

       69.     Plaintiffs and the class described in ¶ 48 above would show that Defendants have

violated the Texas Finance Code and have been unjustly enriched by charging or attempting to

charge fees for medical records which exceed the amounts allowed under the federal HITECH Act

and its implementing regulations and/or other applicable law.

       70.     Plaintiffs and the class described in ¶ 57 above are entitled to actual damages

calculated as the difference between Defendants’ actual cost to provide electronic copies of

medical records in accordance with the HITECH Act and/or other applicable law and the inflated

amounts charged by Defendants as set forth above, which damages are recoverable by Plaintiffs

and the class pursuant to the above-cited provisions of Texas Finance Code, plus additional

damages pursuant to the Texas Deceptive Trade Practices-Consumer Protection Act as

Defendants’ conduct was committed intentionally and knowingly, plus reasonable and necessary

attorney fees and costs for trial and appeal of this cause as provided by Texas Finance Code §

392.403(b). Such actual damages are also recoverable under the doctrine of unjust enrichment.

       71.     Plaintiff Amelia Rios and the class described in ¶ 58 above are entitled to statutory

damages from Defendant North Shore in the amount of $100 per violation due to said Defendant’s




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failure to acknowledge disputes relating to amounts sought to be charged by Defendant North

Shore as required by Texas Finance Code § 392.202, pursuant to Texas Finance Code § 392.403(e).

       72.     Alternatively, Defendants have exhibited common behavior towards Plaintiffs and

the class by seeking to charge fees for medical records which exceed the amounts allowed under

the federal HITECH Act and its implementing regulations and/or other applicable law. Plaintiffs

and the class members must have been harmed in essentially the same way, in that they have all

been charged excessive amounts for electronic copies of medical records. The granting of

injunctive relief would predominate over monetary damage claims, as injunctive relief would

benefit Plaintiffs and the class for many years into the future rather than being limited to relatively

small damage claims for the two years prior to the filing of this lawsuit. The injunctive relief

sought is authorized by Texas Finance Code § 392.403(a)(1) and may be narrowly tailored to

ensure that only the specific costs permitted by the HITECH Act and its implementing regulations

are charged to persons seeking copies of medical records from Defendants.

                                         JURY DEMAND

       73.     Plaintiffs hereby request, for themselves and members of the class, a trial by jury.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that upon final hearing and

trial on the merits hereof, Plaintiffs have and recover judgment against the Defendants for the

following:

       a.      Certification of this action as a class action;

       b.      Actual damages;

       c.      Statutory damages;

       d.      Additional damages;

       e.      Additionally, and/or in the alternative, injunctive relief;



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    f.   Costs as provided for by statute or Court rule;

    g.   Reasonable attorneys’ fees incurred through trial and any appeal taken therefrom;

    h.   Interest at the lawful rate until paid;

    i.   Such other and further relief to which Plaintiffs may be justly entitled, including
         awarding Plaintiffs their actual, additional and/or statutory damages and attorneys’
         fees in the event the case is not certified to use the class action procedure.

                                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on the 28th day of October, 2019, a true and correct copy of the above
and foregoing has been served via CM/ECF electronic transmission on the following:

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